 

Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 1 of 41

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Vv.

ALEKSEI SERGEYEVICH MORENETS
EVGENII MIKHAYLOVICH SEREBRIAKOV
IVAN SERGEYEVICH YERMAKOV
ARTEM ANDREYEVICH MALYSHEV
DMITRIY SERGEYEVICH BADIN

OLEG MIKHAYLOVICH SOTNIKOV
ALEXEY VALEREVICH MININ

Defendants.

19-202

18 U.S.C. §§ 371, 1030(a)(2)(C),
1030(a)(5)(A)

(Conspiracy)

18 U.S.C. § 1349 and § 3559(g)(1)
(Conspiracy to Commit Wire Fraud)
18 U.S.C. § 1343 (Wire Fraud)

18 U.S.C. § 1028A

(Aggravated Identity Theft)

18 U.S.C. § 1956(h)

(Conspiracy to Launder Money)

Criminal No.

[UNDER SEAL]

INDICTMENT

COUNT ONE
(Conspiracy)

The grand jury charges:

1, At all times relevant to the indictment, from at least 2014 up to and including May

2018, the Russian Federation (Russia) operated a military intelligence agency called the Main

Intelligence Directorate of the General Staff (GRU). The GRU was headquartered in Moscow,

Russia, and was comprised of multiple units, including Units 26165 and 74455. Military Unit

26165, also known as the “GRU 85 Main Special Service Center,” was located at 20

Komsomolskiy Prospekt, Moscow, Russia. Military Unit 74455 was located at 22 Kirova Street,

Khimki, Moscow, Russia.

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Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 2 of 41

2. During the charged timeframe, members of the GRU conducted persistent and
sophisticated criminal cyber intrusions by hacking into the computers of victims that included U.S.
persons, corporate entities, international organizations and their respective employees. These
victims were located around the world, including in the Western District of Pennsylvania, and were
targeted by the GRU for their strategic interest to the Russian government.

3. Specifically, defendants ALEKSEI SERGEYEVICH MORENETS, EVGENII
MIKHAYLOVICH SEREBRIAKOV, IVAN SERGEYEVICH YERMAKOV, ARTEM
ANDREYEVICH MALYSHEV, DMITRIY  SERGEYEVICH BADIN, OLEG
MIKHAYLOVICH SOTNIKOV and ALEXEY VALEREVICH MININ were GRU officers who
knowingly and intentionally conspired with each other, and with persons known and unknown to
the grand jury, (collectively, the conspirators) to gain unauthorized access (to “hack’’) into victim
computers and steal private or otherwise sensitive information, in violation of United States laws.
In many instances, the stolen information was publicized by the GRU as part ofa related “influence
and disinformation” campaign designed to undermine the legitimate interests of the victims,
further Russian interests, retaliate against Russia’s detractors and sway public opinion in Russia’s
favor.

THE VICTIMS

4. Among those victims targeted by the GRU were U.S. and international anti-doping
agencies, sporting federations, anti-doping officials, other sports-related organizations and nearly
250 athletes from approximately 30 countries. The victims included, among others, the following:

e the U.S. Anti-Doping Agency (USADA), a U.S. based agency, headquartered in

Colorado Springs, Colorado;
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 3 of 41

e the World Anti-Doping Agency (WADA), an international agency, headquartered

in Montreal, Canada;

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e the Canadian Centre for Ethics in Sport (CCES), a Canadian-based anti-doping
agency, headquartered in Ottawa, Canada;
e the International Association of Athletics Federations (IAAF), an international
sports gaming body, headquartered in Monaco;
e The Court of Arbitration for Sport (TAS/CAS), headquartered in Lausanne,
Switzerland; and,
e the Fédération Internationale de Football Association (FIFA), an international
governing body for football, headquartered in Zurich, Switzerland.
5. These victims were targeted by the GRU for their role in the investigation or public
condemnation of Russia’s state-sponsored athlete doping program and their public support of, or
involvement in, a ban on Russian athletes in worldwide athletic competitions (including the 2016
Summer Olympics and Paralympics in Rio de Janeiro, Brazil). The GRU also targeted the victims
to steal athletes’ medical records which were then publicized as part of an influence and
disinformation campaign.
6. In addition to anti-doping agencies, the GRU targeted other victims of potential
benefit to Russian interests, including:
e Westinghouse Electric Corporation (WEC), a nuclear energy company

headquartered in the Western District of Pennsylvania;

e the Organisation for the Prohibition of Chemical Weapons (OPCW), an

organization headquartered in The Hague, Netherlands, investigating the use of

 
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 4 of 41

chemical weapons in Syria and the March 2018 poisoning of a former GRU
officer and others in the United Kingdom with a chemical nerve agent; and,

e the Spiez Swiss Chemical Laboratory located in Spiez, Switzerland, an
accredited laboratory of the OPCW that analyzed the chemical agent connected
to the poisonings of a former GRU officer and others in the United Kingdom.

Cyber Intrusions and Related Influence and Disinformation Campaigns

7. The cyber intrusions conducted by the GRU involved sophisticated, persistent and
unauthorized access into the victims’ computer networks for the purpose of stealing private or
otherwise sensitive information.

8. The hacking was often conducted remotely, from Russia. If the remote hack was
unsuccessful or if it did not provide the conspirators with sufficient access to victims’ networks,
“on-site” or “close access” hacking operations were conducted by the conspirators. On-site
operations involved trained GRU hackers with sophisticated hacking equipment traveling to
victims’ locations around the world. These on-site operations often involved targeting the
computer networks used by victims organizations or their personnel through Wi-Fi connections,
such as hotel Wi-Fi networks, in an effort to gain unauthorized access to the victims’ computer
networks.

9. Defendants MORENETS and SEREBRIAKOV were two such on-site GRU
hackers who traveled to foreign countries with other conspirators, in some instances using Russian
government issued diplomatic passports to conduct on-site operations. (See Exhibit A).

10. The intrusions were typically conducted by the conspirators for the purpose of

stealing private or otherwise sensitive information.
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 5 of 41

11. The conspirators thereafter publicly released select items of stolen information
under the false auspices of a hacktivist group calling itself the “Fancy Bears’ Hack Team.” The
conspirators publicly disseminated the stolen information using online accounts and other
infrastructure. These accounts and associated infrastructure were acquired and maintained by
GRU Unit 74455.

12. Among the goals of the conspiracy was to publicize stolen information to conduct
an influence and disinformation campaign designed to:

(i) undermine, retaliate against and otherwise delegitimize the efforts of international
anti-doping organizations and officials who had publicly exposed Russian
government-sponsored doping by Russian athletes;

(ii) pose as the “Fancy Bears’ Hack Team,” publicize and expose individual sensitive
medical information and drug testing results of athletes;

(iii) | damage the reputations of clean athletes from various countries by falsely claiming
that such athletes were using banned or performance-enhancing drugs.

THE DEFENDANTS

13. During the timeframe of the conspiracy, ALEKSE] SERGEYEVICH MORENETS
(Mopener Antexceii Cepreesu4) served as a Russian military intelligence officer assigned to Unit
26165. MORENETS was a member of a Unit 26165 team that traveled with technical equipment
to locations around the world to conduct on-site hacking operations to target and maintain
persistent access to Wi-Fi networks used by victim organizations and personnel. As early as July
2016 and continuing through September 2016, MORENETS targeted U.S. and international anti-

doping agencies and sporting federations in Rio de Janeiro, Brazil (July and August 2016, prior to
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 6 of 41

and during the 2016 Summer Olympics) and Lausanne, Switzerland (September 2016).
MORENETS did so by compromising Wi-Fi networks used by anti-doping personnel with access
to the networks of USADA, WADA and CCES. Additionally, in April 2018, MORENETS was
encountered while conducting an on-site hacking operation targeting the Organisation for the
Prohibition of Chemical Weapons (OPCW) in The Hague, Netherlands, and intended to thereafter
target the Spiez Swiss Chemical Laboratory in Switzerland.

14. During the timeframe of the conspiracy, EVGENIT MIKHAYLOVICH
SEREBRIAKOV (Cepe6pskos Esrenuit Muxaiinopu4) served as a Deputy Head of Directorate,
Section Chief, assigned to Unit 26165. SEREBRIAKOV was another member of a Unit 26165
team that participated in the on-site hacking operations in Rio de Janeiro, Brazil (August 2016),
and Lausanne, Switzerland (September 2016), that targeted USADA, WADA and CCES. In April
2018, SEREBRIAKOV targeted the OPCW in The Hague, Netherlands, and intended to thereafter
target the Spiez Swiss Chemical Laboratory in Switzerland.

15. During the timeframe of the conspiracy, IVAN SERGEYEVICH YERMAKOV
(Epmakos Msan Cepreesn4) served as a Russian military intelligence officer in the GRU assigned
to Unit 26165. YERMAKOV conducted technical and online reconnaissance of victim
organizations, their employees and their computer networks and thereafter sent spearphishing
emails using fictitious personas and proxy servers in an attempt to obscure his identity and GRU
affiliation. YERMAKOV also participated in, and provided remote support to, MORENETS’ and
SEREBRIAKOV’s on-site hacking operations, all on behalf of Unit 26165. As early as November
2014 and continuing through at least August 2016, YERMAKOV and his co-conspirators targeted

Westinghouse Electric Corporation (WEC) and its employees, in the Western District of
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 7 of 41

Pennsylvania, WADA and USADA. YERMAKOV is a charged defendant in federal indictment
number CR 18-215 in the District of Columbia.

16. During the timeframe of the conspiracy, ARTEM ANDREYEVICH MALYSHEV
(Manpines Aptém Anypeesn4) served as a Senior Lieutenant assigned to Unit 26165. In 2016,
MALYSHEV monitored X-Agent malware (a/k/a “Chopstick’’) implanted on victim networks and
utilized online fictitious personas to conduct technical and online reconnaissance of victim
organizations and to send spearphishing emails, all on behalf of Unit 26165. As early as July 2016
and continuing through at least August 2016, MALYSHEYV participated in intrusion activities
targeting WADA. MALYSHEV is a charged defendant in federal indictment number CR 18-215
in the District of Columbia.

17. During the timeframe of the conspiracy, DMITRIY SERGEYEVICH BADIN
(banun J[Mutpuii Cepreesny) was an “Assistant Head of Department” assigned to Unit 26165. In
his supervisory role, BADIN oversaw the criminal activities of conspirators as they engaged in
computer intrusions and stole credentials, medical records and other data. BADIN also compiled
and used malware and other tools to aid in the compromise of victim networks by the conspirators,
including the CCES network in September and October 2016. BADIN is a charged defendant in
federal indictment number CR 18-215 in the District of Columbia. (Images of defendants
YERMAKOV, MALYSHEV and BADIN are attached as Exhibit B).

18. During the timeframe of the conspiracy, OLEG MIKHAYLOVICH SOTNIKOV
(Oner Muxatinopny CoTuuxkos) served as a Russian military intelligence officer. SOTNIKOV
provided support to his conspirators during their targeting of the OPCW in The Hague,

Netherlands, and intended to thereafter target the Spiez Swiss Chemical Laboratory in Switzerland.

 
 

Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 8 of 41

19. During the time period of the conspiracy, ALEXEY VALEREVICH MININ
(Anexcet Baneppesny Muuuy) served as a Russian military intelligence officer. MININ provided
support to MORENETS and SEREBRIAKOV during their targeting of the OPCW in The Hague,
Netherlands, and intended to thereafter target the Spiez Swiss Chemical Laboratory in Switzerland.
(See Exhibit A, images of SOTNIKOV and MININ).

MANNER AND MEANS OF THE CONSPIRACY

20. The members of the conspiracy, who are both known and unknown to the grand
Jury, used the following manner and means to accomplish their objectives, which included gaining
unauthorized access to computers at entities of interest to the Russian government, including
Westinghouse Electric Company (WEC), the U.S. Anti-Doping Agency (USADA), the World
Anti-Doping Agency (WADA), the Canadian Centre for Ethics in Sport (CCES), Court of
Arbitration for Sport (TAS/CAS), the International Association of Athletics Federations (IAAF),
the Fédération Internationale de Football Association (FIFA), and the Organisation for the
Prohibition of Chemical Weapons (OPCW). Conspirators further used that unauthorized access
to steal information and, in some instances, publicized the stolen materials to engage in influence
and disinformation operations to advance the interests of the Russian government.

21. In order to avoid detection by law enforcement, security researchers and victims,
and to mask their GRU affiliation and location in Russia, the conspirators used a variety of
fictitious names and personas, as well as online infrastructure, including servers, domains,
cryptocurrency, email accounts, social media accounts and other online services provided by

companies in the United States and elsewhere. The conspirators used this infrastructure for a wide

range of conduct in furtherance of the conspiracy: to communicate, research and probe victims and

 
 

Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 9 of 41

their computer networks; to send spearphishing emails; to mimic legitimate domains and websites;
to store and distribute additional malware; to manage malware; to transfer stolen data; to publicly
release stolen information; to draw public and media attention to such stolen information; and, to
negatively influence the perception of such stolen information and the victims. Conspirators used
common infrastructure to target multiple victim organizations and individuals. For example, the
conspirators utilized approximately 38 common IP addresses to conduct the intrusion activities at
both WADA and USADA, and much of the stolen information from all of the anti-doping-related
victims was posted and disseminated through the social media accounts or website of the Fancy
Bears’ Hack Team, fancybear.net and fancybear.org.

22. In those instances where conspirators purchased hacking infrastructure, payments
were made using a complex web of transactions involving operational accounts in fictitious names
and typically utilized cryptocurrencies, such as Bitcoin, to further mask their identities and
conduct.

23. The conspirators typically initiated their hacking activities by researching the
victim organizations, including their computer networks and employees. This research provided
technical and biographical information that the conspirators could exploit in subsequent intrusion
activities.

24. The conspirators also registered domain names for use in their hacking activities.
Examples include “westinghousenuclear.com” (deliberately substituting a “q” for a “g,’),
“wada.awa.org” and “wada.arna.org” (WADA’s legitimate domain was “wada.ama.org’’). These

domains were intended to mimic or “spoof” those of legitimate websites that victims were familiar

with, including webmail login pages, VPN login screens or password reset pages.
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 10 of 41

25. Frequently, the conspirators crafted email messages known as “spearphishing,”
designed to trick unwitting recipients into giving the conspirators access to their computers and
account credentials (e.g., a username and password). Spearphishing messages were composed to
resemble emails from trustworthy senders, such as email providers or colleagues, and requested
the recipients to click on hyperlinks in the messages. Such hyperlinks would direct recipients to
spoofed websites which prompted the recipients to enter their login and password and enabled the
capture of their credentials. In many cases, the hyperlinks were created using an online service
(e.g., Bit.ly) that abbreviated lengthy website addresses (referred to as a “URL-shortening
service”). In other cases, the hyperlinks were domains that the conspirators registered for a fee
with online providers, such as “wada.awa.org,” and “wada.arna.org.”

26. When the conspirators’ remote hacking efforts failed to capture log-in credentials,
or if those accounts that were successfully compromised did not have the necessary access
privileges for the sought-after information, teams of GRU intelligence officers traveled to locations
around the world where targets were physically located. Using specialized equipment, and with
the remote support of conspirators in Russia, these on-site teams hacked into Wi-Fi networks used
by victim organizations or their personnel, including hotel Wi-Fi networks. After a successful
hacking operation, the on-site, or close access, team transferred such access to conspirators in
Russia.

27. The conspirators developed and utilized malware and hacking tools, including
“Gamefish,” “X-agent” (a/k/a ““Chopstick”), “X-tunnel,” “Remcomsve,” and “Responder.exe,” in
order to hack and compromise victim computers and networks, to maintain command and control

over such networks, and to steal network credentials and other sensitive and private data.

10
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 11 of 41

28. After hacking into victim computers, remotely or aided by the on-site teams, the
conspirators performed a variety of functions designed to identify, collect, package and steal
targeted data from the victims’ computers. In instances where the hacking was part of an influence
or disinformation operation, conspirators publicly posted and disseminated such information,
including victims’ personal email communications and individual health and medical information.
In some instances, such information was modified from its original form. Thereafter, the
conspirators would actively solicit and promote media coverage so the stolen information would
receive international attention. This was done to further a narrative favorable to the Russian
government and in order to amplify its impact.

COMPUTER INTRUSIONS and OTHER OVERT ACTS

Westinghouse Electric Company (WEC)

 

29. At all times during the conspiracy, WEC was a U.S.-based nuclear power
developer, with its headquarters outside of Pittsburgh, Pennsylvania, that provided fuel, services
and plant design to international customers in the commercial nuclear industry. All of WEC’s
internet traffic is routed through servers located in the Western District of Pennsylvania. The
company’s power plant designs are the basis for approximately half of the world’s currently
operating nuclear power plants. Since 2008, WEC has supplied Ukraine with increasing amounts
of nuclear fuel.

30. As early as November 20, 2014, IVAN SERGEYEVICH YERMAKOV performed
technical reconnaissance of WEC, WEC-related IP addresses, network ports and associated
domains. On December 8, 9, and 22, 2014, YERMAKOV’s reconnaissance included research on

WEC, its employees, and their background in nuclear energy research and development.

11

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 12 of 41

31. On December 10, 2014, YERMAKOV and his co-conspirators registered a fake
domain and website, “https://webmail.westinqhousenuclear.com” to mimic a legitimate WEC
domain. Spearphishing emails were sent to at least five WEC employees, designed to appear as
routine emails from the Westinghouse.com Microsoft Exchange Server. Upon clicking an
enclosed link, users were directed to the spoofed domain where their login credentials were stolen
and saved. Once stolen credentials were determined to be authentic by the conspirators, victims
were then re-routed to the original, legitimate WEC network so that they were unaware that the
theft of their passwords had occurred.

32. Following the targeting of WEC corporate accounts, on December 24, 2014,
January 15, 2015, January 17, 2015 and November 18, 2015, using Bit.ly accounts, YERMAKOV
and conspirators sent spearphishing emails to the personal email accounts of four WEC employees
who resided near Pittsburgh, Pennsylvania. The users of two of the accounts clicked on the
malicious link which would have enabled the theft of the login credentials to their personal email
accounts. These employees worked in the nuclear energy field and were involved in advanced
nuclear reactor development and new reactor technology.

World Anti-Doping Agency (WADA)

 

33. WADA was established under the initiative of the International Olympic
Committee (IOC) in 1999 as an international independent agency, which is composed of and
funded equally by the sports movement and governments of the world. WADA, which is
headquartered in Montreal, Canada, administers the World Anti-Doping Code — the document
harmonizing anti-doping policies in all sports and all countries - and coordinates anti-doping

activities internationally through its central drug testing clearinghouse, the Anti-Doping

12

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 13 of 41

Administration and Management System (ADAMS) database. The ADAMS database contains
laboratory results of drug tests and location information for nearly 30,000 athletes in addition to
records related to the granting or denial of therapeutic use exemptions (TUEs) for otherwise

prohibited substances. Athletes whose medical information resides in the ADAMS database reside

throughout the world, including in the Western District of Pennsylvania.

34. In 2014, a German documentary titled, “Top Secret Doping: How Russia Makes its
Winners,” aired interviews of husband and wife Russian whistleblowers who admitted to
participation in the Russian state-sponsored doping program as an anti-doping official and athlete,

respectively. Shortly thereafter, WADA launched an Independent Commission (IC) to investigate

the validity of the allegations. In a November 2015 report, the WADA IC released its findings,

namely, it “confirmed the existence of widespread cheating through the use of doping substances
and methods to ensure, or enhance the likelihood of, victory for [Russian] athletes and teams."
The IC made “specific findings” regarding the involvement of the Russian Federal Security

Service (FSB) in Russia’s efforts to evade anti-doping procedures and protections.

35. In May 2016, a prominent television newsmagazine and newspaper each published
stories regarding allegations from the husband and wife whistleblowers, as well as a new Russian
whistleblower who had previously managed Russia’s anti-doping laboratory. The whistleblowers
all alleged a Russian state-sponsored doping effort at the 2014 Sochi Winter Olympics. In
response, WADA named an “independent person” (IP) to investigate their allegations.

36. On July 18, 2016, the WADA-appointed IP published his first report, the “McLaren

Report,” regarding Russia’s systematic state-sponsored subversion of the drug testing processes

prior to, during and subsequent to the 2014 Sochi Winter Olympics. WADA’s Executive

13

 
Russian Paralympic Committee.

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 14 of 41

Committee issued a statement accompanying this report, which recommended that the IOC and
the International Paralympic Committee (IPC) “decline entries for Rio [Olympics and
Paralympics] 2016, of all athletes submitted by the Russian Olympic Committee (ROC) and the
” Beginning that same day, multiple IP addresses were used to
scan WADA’s network for vulnerabilities or potential access points.

37. On July 24, 2016, the IOC Executive Board announced a “preliminary decision”
(later affirmed by the broader IOC) that, as a result of the WADA IP’s report, individual sporting
federations could exclude Russian athletes from the 2016 Rio Summer Olympics, with each
positive decision having to be approved by an arbitrator from the international Court of Arbitration
for Sport (TAS/CAS). Ultimately, 111 Russian athletes were barred from participation in the
Olympics. The IPC issued a blanket ban of Russian athletes for the 2016 Rio Summer
Paralympics.

38. The next day, on July 25, 2016, conspirators launched a Distributed Denial-of-
Service (DDoS) attack against, and vulnerability scan, of WADA’s official website: wada-
ama.org.

Compromise of WADA’s Computer Networks

39. On August 2, 2016, conspirators used multiple IP address to connect to or scan

WADA’s network. Such activity continued on August 4, 5, 8 and 9, 2016.

40. Also on August 2, 2016, defendant YERMAKOV researched WADA and password

recovery requirements for WADA’s ADAM’s database.

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Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 15 of 41

4l. On August 3, 2016, conspirators registered the domain “wada.awa.org” using an
email account and a fictitious name. This registered domain spoofed, or falsely mimicked,
WADA’s legitimate domain: wada-ama.org.

42. On August 3 and 4, 2016, defendant YERMAKOV researched WADA and
ADAMS, as well as exploits and other hacking techniques.

43. On August 4, 2016, conspirators, including defendant MALYSHEV, sent
spearphishing emails to eleven WADA employees, appearing to be from the WADA Chief
Technology Officer, which prompted the employees to click on the link to authenticate their
WADA email accounts. In fact, the link was designed to steal WADA employee login credentials.
Approximately four WADA employees clicked on the malicious link which enabled conspirators
to steal their login account credentials, which were later used to access their WADA accounts.

44. On August 5, 2016, defendant YERMAKOV conducted research regarding
WADA, the WADA-appointed IP, the McLaren Report and CISCO firewalls. This included
research of a specific WADA employee, including his or her LinkedIn profile. Minutes later,
conspirators created a link embedding that employee’s email address using the URL-shortening
service Bit.ly, and a corresponding spearphishing email was sent to the victim’s email account.
The employee clicked on the malicious link which was designed to allow defendant YERMAKOV
and the conspirators to harvest his or her log-in credentials and gain access to his or her emails.
Over the course of the conspirators’ targeting of WADA, this Bit.ly account created links for the

personal email accounts of at least four WADA employees.

15
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 16 of 41

45. On August 8, 2016, conspirators registered the domain “wada-arna.org” using an
email account and a fictitious name. This registered domain spoofed, or falsely mimicked,
WADA’s legitimate domain: wada-ama.org.

46. That same day, and again on August 9, 2016, defendant YERMAKOV continued
research targeting WADA employees. He also prepared to send spearphishing emails, by
composing English-language draft emails and by researching information regarding CISCO
security updates, CISCO access and privilege escalation. On August 9, 2016, defendant
MALYSHEYV also prepared to send spearphishing emails by conducting research and reviewing a
draft spearphishing email.

47. On August 9, 2016, defendants YERMAKOV and MALYSHEV sent
spearphishing emails written to appear as if they were from a WADA IT Manager to WADA
employees prompting them to click on a link to “update their Cisco client.” At least one WADA
employee clicked on the link and entered his or her login credentials.

Compromise of WADA’s
Computer Networks Through On-Site Operations

 

 

48. Conspirators made two operational trips to Rio de Janeiro, the site of the 2016
Summer Olympics and Paralympics, to conduct hacking operations targeting and maintaining
persistent access to Wi-Fi networks used by anti-doping officials. First, from July 10 through July
19, 2016, prior to the Olympics, defendant MORENETS traveled to Rio. Second, from August
13, 2016 to August 19, 2016, during the Olympics, defendants MORENETS and SEREBRIAKOV
traveled together to Rio.

49. During defendants MORENETS’ and SEREBRIAKOV’s second trip to Rio,

defendant YERMAKOV provided remote support to their close access operation. For example,

16
- Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 17 of 41

on August 13 and 14, 2016, defendant YERMAKOV conducted research concerning an identified
hotel chain that hosted Olympics officials, including IOC, TAS/CAS, WADA and USADA
officials. Within minutes, defendant YERMAKOV also researched the routers used by some of
those hotels for Wi-Fi access and methods of exploiting those routers, including through “brute
force” password cracking.

50. On August 19, 2016, approximately 15 hours before defendants MORENETS’ and
SEREBRIAKOV’s departure from Rio, an identified IOC anti-doping official used his or her
administrator credentials to log into WADA’s ADAMS database from a Brazilian IP address. The
conspirators captured that IOC official’s username and password and thereafter used them, and
another set of ADAMS credentials belonging to the same official that was created specifically for
anti-doping officials at the Rio Olympic games, to gain unauthorized access to the ADAMS
database and medical and anti-doping-related information available to those accounts. The broader
ADAMS database was not compromised in the attack. The conspirators conducted large-scale
exports of data from WADA’s networks on August 29, 2016 and September 6, 2016.

Tribunal Arbitral du Sport/Court of Arbitration for Sport (TAS/CAS)

51. TAS/CAS is an independent institution based in Lausanne, Switzerland, which
resolves sports-related legal disputes through arbitration. In this capacity, TAS/CAS was involved
in the Russian doping scandal, including a July 21, 2016 decision to uphold the suspension by
IAAF of the All-Russia Athletics Federation and the July 24, 2016 decision by the IOC that

individual sporting confederations could ban Russian athletes from the Rio Olympics, with the

approval of a TAS/CAS arbitrator. On July 26, 2016, TAS/CAS established an ad hoc tribunal to

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 18 of 41

resolve disputes at the Rio Olympics, which was located at a Rio hotel operated by the hotel chain
described herein as having been targeted by defendant YERMAKOV.

52. On August 8, 2016, the conspirators used the same email account and fictitious
name that was used to register the spoofed “wada-arna.org” domain to register a second domain
“tas-cass.org.” The registered domain falsely mimicked TAS/CAS’ legitimate domain: tas-
cas.org.

53. One day later, on August 9, 2016, defendants MALYSHEV and YERMAKOV
conducted online reconnaissance efforts targeting TAS/CAS email accounts and made other
preparations for sending spearphishing emails.

U.S. Anti-Doping Agency (USADA)

54. USADA is the national anti-doping organization in the United States for Olympic
and Paralympic Sports. USADA implements a national anti-doping program that includes athlete
testing and also oversees therapeutic use exemptions (TUEs) for prohibited substances, consistent
with the World Anti-Doping Code and in coordination with WADA and the IOC. Like WADA,
USADA maintains thousands of sensitive, confidential records regarding the location of United
States athletes, their drug testing history and results and TUEs. USADA is headquartered in
Colorado Springs, Colorado.

55. During the timeframe of the conspiracy, USADA leadership was _ publicly
outspoken regarding its concern about state-sanctioned doping among Russian athletes and
advocated for a ban of Russian athletes from the 2016 Rio Olympics. This included cooperative
efforts with CCES and other national anti-doping agencies in July 2016 to make a concerted push

for a ban upon the anticipated release of the WADA McLaren Report. USADA was also a vocal

18
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 19 of 41

critic of the IOC’s July 24, 2016 decision not to institute a full ban on Russian athletes participating
in the 2016 Rio Olympics, releasing a statement that, “the decision regarding Russian participation
and the confusing mess left in its wake is a significant blow to the rights of clean athletes.”

56. On August 2, 2016, defendant YERMAKOV conducted research of USADA.

57. On August 14, 2016, conspirators began efforts to compromise USADA’s network,
including through “SQL injection” attacks against USADA’s “ufcathlete.usada.org” website from
multiple IP addresses (SQL injection attacks are a hacking technique that involved typing
commands in the website’s fields in order to tamper with, steal or gain unauthorized access to a
database). USADA also administers the anti-doping program for the Ultimate Fighting
Championship (UFC) and specifically maintains a Russian language option for its UFC athletes.
These attacks, which consisted of 24,227 SQL injection attempts from 62 different sources,
continued intermittently until August 18, 2016, and used some of the same infrastructure from
similar attacks against WADA during the same time frame. The SQL injection attacks, as captured
on USADA logs, show that the hackers attempted to use the “change language” function to switch
from English to Russian.

58. In late August 2016, a senior USADA anti-doping official traveled to Rio de
Janeiro, Brazil for the Olympics and Paralympic games. At that time, the USADA official served
on the IPC which had unanimously suspended Russia from official participation in the 2016 Rio
Paralympics. A number of anti-doping officials stayed at a Rio hotel operated by the hotel chain
described herein as having been targeted by defendant YERMAKOV. Throughout his or her stay,
the USADA official used Wi-Fi at his or her hotel and other Wi-Fi access points in Rio to remotely

access USADA’s computer systems and conduct official business via his or her portable electronic

19
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 20 of 41

devices.

59. On August 19 and 25, 2016, conspirators sent spearphishing emails to the personal
account of an officer serving on the USADA Board of Directors. The emails contained a malicious
link that was created by the same Bit.ly account used to send spearphishing emails to WADA
employees in August 2016.

60. On September 6, 2016, while the USADA official was still in Rio, conspirators
successfully compromised the credentials for his or her USADA VPN account and Office 365
Exchange mailbox, the latter of which contained all of his or her emails. At that time, the USADA
official’s account contained over 90,000 messages and an estimated 10 gigabytes of data, which
included summaries of athlete test results and prescribed medications.

61. The conspirators subsequently attempted to use the USADA official’s credentials
to gain unauthorized access to 33 separate USADA systems between September 7 and 14, 2016.
These attempts were ultimately unsuccessful.

Canadian Centre for Ethics in Sport (CCES)

62. CCES is the national anti-doping organization for Canada and oversees the
implementation and management of Canada’s Anti-Doping Program. During the timeframe of the
conspiracy, CCES coordinated drug testing and analysis, assured adherence to the World Anti-
Doping Code and considered exemptions for athletes with medical conditions. The headquarters
for CCES are in Ottawa, Canada.

63. During the conspiracy, CCES leadership spoke out publicly against Russia’s state-
sponsored doping program and joined with USADA in support of a ban for the Rio Olympics and

beyond. On September 19, 2016, CCES issued a media release condemning the hacking of WADA

20
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 21 of 41

and the athlete information in the ADAMS database, as well as the public posting of such
information.

64. In mid-September 2016, a senior CCES official traveled to Lausanne, Switzerland
for a WADA-hosted anti-doping conference. Conference proceedings and lodging were hosted at
a specific hotel in Lausanne (Lausanne Hotel 1), which offered Wi-Fi for its guests. During this
trip, the CCES official traveled with a laptop computer, stayed at Lausanne Hotel | and used the
hotel Wi-Fi connection to access the internet and conduct official business.

65. On September 18, 2016, defendants MORENETS and SEREBRIAKOV traveled
to Lausanne, Switzerland, with defendant SEREBRIAKOV staying in Lausanne Hotel 1, and
defendant MORENETS staying in a second hotel in close proximity (Lausanne Hotel 2), which
was also hosting anti-doping officials as guests. Both reservations were for four nights.
Defendants MORENETS and SEREBRIAKOV were at the time in possession of equipment used
for on-site or close access Wi-Fi compromises.

66. On September 19, 2016, while the CCES official was staying at Lausanne Hotel 1
and connected to the hotel’s Wi-Fi network, defendants MORENETS and SEREBRIAKOV,
together with co-conspirators, compromised the hotel Wi-Fi network to gain unauthorized access
to the CCES official’s laptop. Using that access, the conspirators accessed the CCES official’s
emails and placed, or attempted to place, malware, namely Gamefish, X-agent, X-Tunnel,
Remcomsve, and Responder.exe, onto the laptop.

67. On September 20, 2016, while at Lausanne Hotel 1, the CCES official happened
to check the “Sent items” email folder on his laptop. In the folder, he or she found a message to

the Chief Medical Officer of another international sporting organization that he or she had neither

21
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 22 of 41

composed nor sent. The message contained several blatant typographical errors and inaccurately
attempted to mimic the cell phone signature line of the CCES officer: “Sent from my
SamsunCopenhagen.” The message also contained what appeared to be an embedded malicious
link.

68. Starting on September 20, 2016, the conspirators, using the CCES official’s
credentials, moved laterally from the CCES official’s laptop to CCES’ computer network in
Canada. The conspirators maintained access to, and installed tools and malware Gamefish, X-
agent, and Remcomsve, on the CCES network until at least October 24, 2016, when CCES took
its network offline.

69. Forensic evidence obtained from CCES revealed that the conspirators had used a
file named “vsc.exe,” which was a tool used to extract hashed passwords from a victim computer
network. Analysis of the metadata of this tool revealed that it had been compiled by defendant
DMITRIY SERGEYEVICH BADIN.

International Association of Athletics Federations IAAF)

70. The IAAF is an international sports federation that governs track-and-field
competitions and related standardized technical equipment and official world records. During the
timeframe of the conspiracy, the IAAF maintained an anti-doping department and staff, which was
transitioned into a newly-formed IAAF “Athletics Integrity Unit” (AIU) in April 2017. Even
before the establishment of the AIU, IAAF’s anti-doping staff were responsible for all aspects of
the anti-doping program for international-level athletes, including education, testing, intelligence
gathering, investigations, results management, prosecutions and appeals. The IAAF is

headquartered in the Principality of Monaco.

22
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 23 of 41

7). On November 13, 2015, shortly after WADA released its first report, the Council
of the IAAF provisionally suspended the membership of the All-Russia Athletics Federation
(ARAF) in response to allegations of Russian state-sponsored doping allegations. On July 21,
2016, TAS/CAS upheld ARAF’s suspension and Russian track-and-field athletes were barred from
the 2016 Rio Olympics. Since that time, IAAF has continued the suspension, in part due to the
refusal by ARAF and Russian sporting officials to acknowledge the McLaren Report’s findings.

72. From January 19 to 24, 2017, three weeks before the IAAF was to release a
recommendation regarding ARAF’s reinstatement, the conspirators compromised the computers
of at least four IAAF officials, including the head of IAAF’s anti-doping department. Specifically,
through malware placed on the IAAF network, including X-agent, the conspirators were able to
review keylogger results, monitor Skype communications and access file directories. Prior to these
specific events, the command and control infrastructure for the IAAF X-agent malware was
managed from an IP address frequently used by MALYSHEV.

Fédération Internationale de Football Association (FIFA)

73. FIFA is an international sports federation that governs football (soccer). During
the timeframe of the conspiracy, FIFA maintained a Medical and Anti-Doping Unit that directly
administered the anti-doping programs for all FIFA competitions through a worldwide network of
doping control officers. FIFA is headquartered in Zurich, Switzerland.

74. A second, more detailed report released by WADA on December 9, 2016 (the
“Second McLaren Report”) included evidence that Russian football players may have been

involved in the state-sponsored doping scandal. As a result, FIFA announced an investigation.

23

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 24 of 41

75. From at least December 6, 2016 to January 2, 2017, the conspirators compromised
a computer belonging to the head of FIFA’s Medical and Anti-Doping Unit. Specifically, through
malware placed on the computer, including X-agent, the conspirators downloaded more than 100
documents related to the First and Second McLaren Reports, including supporting evidence,
FIFA’s anti-doping policy and strategy, lab results, medical reports, contracts with doctors and
medical testing labs, information about medical testing procedures and TUEs. Prior to these
specific events, the command and control infrastructure for the X-agent malware was managed
from an IP address frequently used by defendant MALYSHEV.

Influence and Disinformation Operations Using Stolen Information

76. Beginning on or about September 1, 2016, and continuing in separate installments
through May 2018, the conspirators, falsely claiming to be the hacktivist group Fancy Bears’ Hack
Team, used online accounts and other infrastructure procured and managed, at least in part, by
conspirators in GRU Unit 74455 to release data stolen from WADA, USADA, CCES, TAS/CAS,
IAAF, and FIFA, as well as data that appeared to be stolen from 35 other anti-doping agencies or
sporting organizations. Such data was available to and viewed by residents in the Western District
of Pennsylvania.

The Public Release of Stolen Information

77. The domains fancybear.org and fancybear.net were registered on September 1,
2016. On September 12, 2016, data stolen from WADA and its ADAMS database by conspirators
first appeared on fancybear.net, including medical information for individual athletes, and private,
official email communications. Although the initial disseminations focused on U.S. athletes,

subsequent releases of stolen data included records of nearly 250 athletes from almost 30 countries.

24
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 25 of 41

These athlete records from WADA included testing history and TUEs for an athlete and resident
of the Western District of Pennsylvania. Many of the WADA documents released by the
conspirators did not accurately reflect their original form. On fancybear.net, individual athletes
were named, categorized by nationality and sport, an identified as having such personal diagnoses

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as “ADD” (attention deficit disorder), “drug addiction,” “diabetes insipidus,” or “circulatory
collapse.” As one example, an athlete’s stolen record was posted, listing the athlete’s date of birth,
sport, nationality, the daily dose and manner of administration of a prescribed therapeutic
substance, approving physician and the results of a recent (urine) drug test.

78. On or about October 6, 2016, emails and data that conspirators stole from USADA
were released on fancybear.net. The records included personal medical information, such as
testing histories and TUEs, for multiple athletes, including an athlete and resident of the Western
District of Pennsylvania.

79. On December 13, 2016, emails and data that conspirators stole from CCES network
were released on fancybear.net.

80. On or about June 22, 2017, and July 5, 2017, emails and data that conspirators stole
from IAAF’s network were released on fancybear.net, including emails about doping violations of
non-Russian athletes.

81. On August 28, 2017, emails and data that that conspirators stole from FIFA’s
network were released on fancybear.net, including lists of players who were provided TUEs before

the 2010 World Cup, a list of failed drug tests, and emails between FIFA and anti-doping officials.

The Conspirators Sustained Media Campaign

25

 
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 26 of 41

82. | The conspirators released this stolen information to further one of the objectives of
the conspiracy, namely to undermine and retaliate against international anti-doping officials who
had exposed the Russian state-sponsored doping program at the 2014 Sochi Winter Olympics and
other competitions.

83. In some instances, the Fancy Bears’ Hack Team’s posts and other communications
parroted or supported themes that were already found in the Russian government’s narrative. The
following are examples of official Russian statements regarding the investigative findings:

a. On August 2, 2016, the President of the Olympic Committee of Russia claimed
that “[w]e are witnessing the direct interference of politics in sport”;

b. On August 21, 2017, the Russian Minister of Sport and the President of the
Olympic Committee of Russia indicated in a joint letter to the IOC that “the
problem of doping is faced not only by Russia”; and

c. On or about February 11, 2018, the Russian Foreign Minister claimed that the
accusations of state-sponsored doping were orchestrated by the United States
“because they can’t beat us fairly.”

84. The Fancy Bears’ Hack Team, on fancybear.net, made similar misleading
statements, such as:

a. “U.S. and Canada Sports Officials’ Secret Plot Revealed”; and

b. Canada and the United States “tried to further their political interests pretending
to fight for clean sport’;

c. “We have proof of American athletes taking doping”; and

26
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 27 of 41

d. “WADA has failed to be a viable and trusted anti-doping organization because
its leadership and [national anti-doping agencies’] chiefs follow Anglo-Saxon
political agenda.”

85. Between September 12, 2016 and at least January 17, 2018, the conspirators
engaged in a concerted effort to draw media attention to the leaks through a proactive outreach
campaign that went beyond its public social media posts. During that timeframe, the @fancybears
and @fancybearHT Twitter accounts sent direct messages to the Twitter accounts of
approximately 116 reporters around the world advertising the stolen information.

86. Similarly, between September 19, 2016, and July 20, 2018, the conspirators, using
the Fancy Bears’ Hack Team persona, exchanged e-mails with approximately 70 reporters around
the world. The only condition set forth by the conspirators in such exchanges was that reporters
were required to refer to the Fancy Bears’ Hack Team by name in the story and later provide a link
to the story back to the conspirators. In some cases, reporters pressed for and received promises
of exclusivity in such reporting, with one such reporter attempting to make arrangements for a
right of first refusal for articles on all future leaks and actively suggesting methods with which the
conspiracy could search the stolen materials for documents of interest to that reporter (e.g.,
keywords of interest).

87. After the articles were published, conspirators used the Fancy Bears’ Hack Team
social media accounts to draw attention to the articles, in an apparent attempt to amplify the
exposure and effect of their message.

Organisation for the Prohibition of Chemical Weapons (OPCW)

88. The OPCW is the body that implements the Chemical Weapons Convention of

27
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 28 of 41

1997 and includes 193 member nations, including the United States. On April 7, 2018, the OPCW
Executive Council convened at its headquarters in The Hague to discuss the use of toxic chemical
weapons in Syria. Also, in April 2018, including on or about April 11 and 12, OPCW transmitted
statements regarding its investigation of the March 4, 2018 poisoning of a former GRU officer and
another Russian national in the United Kingdom with a chemical nerve agent.

89. On April 10, 2018, defendants ALEKSEI SERGEYEVICH MORENETS,
EVGENIT MIKHAYLOVICH SEREBRIAKOV, OLEG MIKHAYLOVICH SOTNIKOV and
ALEXEY VALEREVICH MININ, all using Russian diplomatic passports, traveled to The Hague
in the Netherlands in furtherance of another on-site operation. According to a taxi receipt found
on his person, prior to his departure from Moscow on April 10, 2018, defendant MORENETS
traveled by taxi from Nesvizhsky Pereulok, a street located at the rear entrance of GRU
headquarters for Unit 26165, directly to Sheremetyevo Airport. (See Exhibit C).

90. Upon their arrival in the Netherlands, an identified official from the Russian
Embassy escorted defendants MORENETS, SEREBRIAKOV, SOTNIKOV and MININ through
customs. All four thereafter checked into a hotel situated adjacent to the OPCW headquarters in
The Hague.

91. On April 11, 2018, defendants SOTNIKOV and MININ rented a car and thereafter
assembled and secreted technical hacking equipment in the car’s trunk. The technical equipment
was capable of several techniques, including long-distance, surreptitious interception of Wi-Fi
signals, as well as harvesting of Wi-Fi user credentials. The next day, all four defendants checked
into a second hotel located adjacent to the OPCW headquarters in The Hague.

92. On April 13, 2018, defendants MORENETS, SEREBRIAKOV, SOTNIKOV and

28

 

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 29 of 41

MININ parked the rental car adjacent to the OPCW property, with the trunk facing the OPCW.
(See Exhibit D). The hacking equipment was deployed with an antenna (covered by a jacket)
aimed at the nearby headquarters of the OPCW and configured so that it could be controlled by
either an attached laptop computer or through a remote 4G connection. (See Exhibit E).

93. After the GRU team activated the equipment, the Dutch defence intelligence
service (Militaire Inlichtingen en Veiligheidsdienst or MIVD) disrupted the GRU team’s
operation. As a result, the conspirators abandoned their equipment, including defendant
SEREBRIAKOV’s backpack. This backpack contained additional technical equipment that the
team could also use to surreptitiously intercept Wi-Fi signals and traffic, including a “Wi-Fi
Pineapple.” (See Exhibit F). At least one item of equipment in defendant SEREBRIAKOV’s
possession contained technical data indicating that it had been used to connect to hotel Wi-Fi at
Lausanne Hotels 1 and 2, where defendants MORENETS and SERBRIAKOV had stayed in
Switzerland on September 20-22, 2016, (the dates they conducted the Wi-Fi compromise of the
senior CCES official’s laptop at the same hotel), as well as multiple other international
destinations, including a hotel in Kuala Lumpur, Malaysia, in December 2017. Defendant
SEREBRIAKOV’s equipment was also found to have contained an image that placed him at the
2016 Summer Olympics in Rio on August 14, 2016. (See Exhibit G).

94. Further data on defendant SEREBRIAKOV’s equipment indicated that, on April 9,
2018, he had conducted online searches of the Spiez Swiss Chemical Laboratory, an accredited
laboratory of the OPCW for conducting analysis of military chemical agents, including the
chemical agent that United Kingdom authorities connected to the poisoning of the former GRU

officer in the United Kingdom. Defendants MORENETS, SEREBRIAKOV, SOTNIKOV and

29

 
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 30 of 41

MININ had earlier purchased train tickets from The Hague to Bern, Switzerland, dated April 17,
2018, in order to continue their operational deployment to target the Spiez laboratory.
STATUTORY ALLEGATIONS
95. Beginning at least in or about 2014 and continuing until at least in or about May
2018, the exact dates being unknown to the Grand Jury, in the Western District of Pennsylvania
and elsewhere, defendants ALEKSEI SERGEYEVICH MORENETS,  EVGENII
MIKHAYLOVICH SEREBRIAKOV, IVAN SERGEYEVICH YERMAKOV, ARTEM
ANDREYEVICH MALYSHEV, DMITRIY SERGEYEVICH BADIN, OLEG
MIKHAYLOVICH SOTNIKOV and ALEXEY VALEREVICH MININ, did knowingly and
intentionally combine, conspire, confederate, and agree together, with each other and with others
known and unknown to the grand jury, to commit offenses against the United States, namely:
a. to access a computer without authorization and exceed authorized access to
a computer, and to obtain thereby information from a protected computer, in
furtherance of a criminal and tortious act in violation of the laws of the
Commonwealth of Pennsylvania, namely, the common law tort of Invasion of
Privacy, and where the value of the information did, and would if completed,
exceed $5,000, in violation of Title 18, United States Code, Sections 1030(a)(2)(C)
and 1030(c)(2)(B);
b. to cause the transmission of a program, information, code, and command,
and as a result of such conduct, to cause damage without authorization to a
protected computer, and where the offense did cause and would, if completed, have

caused, loss aggregating $5,000 in value to at least one person during a one-year

30
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 31 of 41

period from a related course of conduct affecting a protected computer, and damage
affecting at least 10 protected computers during a one-year period, in violation of
Title 18, United States Code, Sections 1030(a)(5)(A) and 1030(c)(4)(B); and,

All in violation of Title 18, United States Code, Section 371.

31
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Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 32 of 41

COUNT TWO
(Wire Fraud Conspiracy)

The grand jury further charges:
96. The allegations contained in Paragraphs 1 through 94 of this indictment are
repeated, re-alleged, and incorporated by reference as if fully set forth herein.
THE CONSPIRACY AND ITS OBJECTS
97. From at least approximately 2014, and continuing thereafter to in and around April
2018, in the Western District of Pennsylvania and elsewhere, defendants ALEKSEI
SERGEYEVICH MORENETS, EVGENIT MIKHAYLOVICH SEREBRIAKOV, IVAN
SERGEYEVICH YERMAKOV, ARTEM ANDREYEVICH MALYSHEV, DMITRIY
SERGEYEVICH BADIN, OLEG MIKHAYLOVICH SOTNIKOV and ALEXEY
VALEREVICH MININ, knowingly and willfully did conspire, combine, and agree to commit an
offense against the United States, that is, wire fraud, contrary to the provisions of Title 18, United
States Code, Section 1343, to wit:
the defendants, ALEKSEI SERGEYEVICH MORENETS, EVGENII
MIKHAYLOVICH SEREBRIAKOV, IVAN SERGEYEVICH
YERMAKOV, ARTEM ANDREYEVICH MALYSHEV, DMITRIY
SERGEYEVICH BADIN, OLEG MIKHAYLOVICH SOTNIKOV and
ALEXEY VALEREVICH MININ, together with conspirators, having
devised and intending to devise a scheme and artifice to defraud, and to
obtain property by means of false and fraudulent pretenses, representations

and promises, did transmit and cause to be transmitted by means of wire

32
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 33 of 41

communication in interstate and foreign commerce, certain writings, signs,
signals, and pictures for the purpose of executing such scheme and artifice.

98. Specifically, an object of the conspiracy was to gain unauthorized access into the
computer networks of Westinghouse Electric Company (WEC), the U.S. Anti-Doping Agency
(USADA), the World Anti-Doping Agency (WADA), and the Canadian Center for Ethics in Sport
(CCES) as well as the personal and business email accounts of their respective employees, in order
to steal user login credentials and passwords, email communications, personally identifiable
information, sensitive medical information of international athletes, proprietary information, data,
property and other information of value, by means of false and fraudulent pretenses, to further the
interests of the Russian Federation.

99. In order to gain unauthorized access to victims’ email accounts and computer
networks, defendants IVAN SERGEYEVICH YERMAKOV, ARTEM ANDREYEVICH
MALYSHEV, ALEKSEI SERGEYEVICH MORENETS and EVGENIT MIKHAYLOVICH
SEREBRIAKOV, together with their conspirators, crafted and transmitted, in interstate and
foreign commerce, spearphishing emails that targeted the victims. The spearphishing emails were
designed to appear legitimate in order to deceive recipient victims into opening the email and
clicking on a malicious attachment or link that, when clicked, enabled the conspirators to steal the
victims’ login credentials to gain access to the victims’ networks. The malicious links included
“spoofed,” or mimicked, domains that resembled legitimate websites associated with the victim
entities. For example, the conspirators registered the domain “Westinghousenuclear” on

December 10, 2014, “wada.awa.org” on August 3, 2016, and “wada.arna.org,” and “tas-cass.org”’

33
 

Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 34 of 41

on August 8, 2016, and thereafter utilized those spoofed domains in furtherance of the fraud

scheme.

All in violation of Title 18, United States Code, Sections 1349 and 3559(g)(1).

34
Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 35 of 41

COUNTS THREE THROUGH SEVEN
(Wire Fraud)

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The grand jury further charges:
100. The allegations contained in Paragraphs 1 through 94 of this Indictment are
repeated, re-alleged, and incorporated by reference as if fully set forth herein.
101. On or about the dates set forth below, in the Western District of Pennsylvania and

elsewhere, the defendant, IVAN SERGEYEVICH YERMAKOV, having devised and intending

 

to devise a scheme and artifice to defraud, and to obtain property by means of false and fraudulent
pretenses, representations and promises, did transmit and cause to be transmitted by means of wire
communication in interstate and foreign commerce, certain writings, signs, signals, and pictures
for the purpose of executing such scheme and artifice; to wit, the defendant did knowingly transmit
spearphishing emails, designed to appear legitimate, that contained malicious Bit.ly links, to the
personal email accounts of the victims identified below, all employees of Westinghouse Electric
Company (WEC), on or about the dates set forth below, with the intention of obtaining the victims’

account login credentials, with each such transmission being a separate count of this indictment:

 

 

 

 

 

 

Count Approx. Date Victim Bit.ly Link Bit.ly Account

3 December 24, A http://bit.ly/16QOfWb activqwe
2014

4 December 24, B http://bit.ly/1xb8Efq activqwe
2014

5 December 24, C http://bit.ly/13vFZqx activqwe
2014

6 January 17, D http://bit.ly/1CiXN3W activqwe
2015

7 January 17, E http://bit.ly/1Cz3Fqk activqwe
2015

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

35

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 36 of 41

COUNTS EIGHT AND NINE
(Aggravated Identity Theft)

The grand jury further charges:

102. The allegations contained in Paragraphs 1 through 94 of this Indictment are
repeated, re-alleged, and incorporated by reference as if fully set forth herein.

103. Beginning in at least November 2014 and continuing until at least September 2016,
in the Western District of Pennsylvania and elsewhere, the defendants, ALEKSEI
SERGEYEVICH MORENETS, EVGENIT MIKHAYLOVICH SEREBRIAKOV, IVAN
SERGEYEVICH YERMAKOV, ARTEM ANDREYEVICH MALYSHEV and DMITRIY
SERGEYEVICH BADIN, aided and abetted by others known and unknown to the grand jury, did
knowingly transfer, possess and use without lawful authority, a means of identification of another
person during and in relation to a felony violation enumerated in Title 18, United States Code,
Section 1028A(c), namely, conspiracy to commit wire fraud, in violation of Title 18, United States
Code, Section 1349, knowing that the means of identification belonged to another real person who
worked on behalf of the targeted victim organizations: Westinghouse Electric Company and the

U.S. Anti-Doping Agency (USADA).

 

 

 

Count Approx. Date Victim Org. Means of Identification
8 From WEC Username and passwords for
November multiple employee accounts
2014-
January 2015
9 September 6, USADA Login credentials for
2016 USADA official

 

 

 

 

 

 

In violation of Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028(c)(4)

and 2.

36

 
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Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 37 of 41

COUNT TEN
(Conspiracy to Commit Money Laundering)

The grand jury further charges:

104. The allegations contained in Paragraphs 1 through 94 of this Indictment are
repeated, re-alleged, and incorporated by reference as if fully set forth herein.

105. To facilitate the purchase of infrastructure used in their hacking activity—targeting
anti-doping and other sports-related organizations and releasing the stolen documents—defendants
ALEKSEI SERGEYEVICH MORENETS, EVGENIT MIKHAYLOVICH SEREBRIAKOV,
IVAN SERGEYEVICH YERMAKOV, ARTEM ANDREYEVICH MALYSHEV, DMITRIY
SERGEYEVICH BADIN, OLEG MIKHAYLOVICH SOTNIKOV and ALEXEY
VALEREVICH MININ, together with conspirators known and unknown, conspired to launder
money through a web of transactions structured to capitalize on the perceived anonymity of
cryptocurrencies such as bitcoin.

106. Although the conspirators caused transactions to be conducted in a variety of
currencies, including U.S. dollars, they principally used bitcoin when purchasing servers,
registering domains, and otherwise making payments in furtherance of hacking activity. Many of
these payments were processed by companies located in the United States that provided payment
processing services to hosting companies, domain registrars, and other vendors both international
and domestic. The use of bitcoin allowed the conspirators to avoid direct relationships with
traditional financial institutions, allowing them to evade greater scrutiny of their identities and
sources of funds.

107. All bitcoin transactions are added to a public ledger called the Blockchain, but the

Blockchain identifies the parties to each transaction only by alpha-numeric identifiers known as

37
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 38 of 41

bitcoin addresses. To further avoid creating a centralized paper trail of all of their purchases, the
conspirators purchased infrastructure using hundreds of different email accounts, in some cases
using a new account for each purchase. The conspirators used fictitious names and addresses in
order to obscure their identities and their links to Russia and the Russian government. For
example, the wada.arna.org, tas-cass.org domains and an associated virtual private server were
registered and paid for using the fictitious name “Beula Town.”

108. The conspirators used several dedicated email accounts to track basic bitcoin
transaction information and to facilitate bitcoin payments to vendors. One of these dedicated
accounts received hundreds of bitcoin payment requests from approximately 100 different email
accounts. For example, on or about August 8, 2016, the account received the instruction to
“[p]lease send exactly 0.012684 bitcoin to” a certain thirty-four character bitcoin address. Shortly
thereafter, a transaction matching those exact instructions was added to the Blockchain.

109. On occasion, the conspirators facilitated bitcoin payments using the same
computers that they used to conduct their hacking activity, including to create and send test
spearphishing emails.

110. The conspirators funded the purchase of computer infrastructure for their hacking
activity in part by “mining” bitcoin. Individuals and entities can mine bitcoin by allowing their
computing power to be used to verify and record payments on the bitcoin public ledger, a service
for which they are rewarded with freshly-minted bitcoin. The pool of bitcoin generated from the
GRU’s mining activity was used, for example, to pay a United States-based company to register

the domain wada-arna.org through a payment processing company located in the United States.

38
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 39 of 41

111. The conspirators used the same funding structure—and in some cases, the very
same pool of funds—to purchase key accounts, servers, and domains used in their anti-doping-
related hacking activity. For example, the conspirators used the same pool of bitcoins to fund two
operational personas which, in turn, registered the domains wada-arna.org (to target WADA), tas-
cass.org (to target TAS/CAS) and the domains upmonserv.net and appexrv.com, used for
command and control of X-agent malware installed on CCES network.

STATUTORY ALLEGATIONS

112. From at least in or around 2015 through 2016, within the Western District of
Pennsylvania and elsewhere, defendants ALEKSEI SERGEYEVICH MORENETS, EVGENII
MIKHAYLOVICH SEREBRIAKOV, IVAN SERGEYEVICH YERMAKOV, ARTEM
ANDREYEVICH  MALYSHEV, DMITRIY SERGEYEVICH BADIN,  OLEG
MIKHAYLOVICH SOTNIKOV and ALEXEY VALEREVICH MININ, together with others,
known and unknown to the grand jury, did knowingly and intentionally conspire to transport,
transmit, and transfer monetary instruments and funds to a place in the United States from and
through a place outside the United States, with the intent to promote the carrying on of specified
unlawful activity, namely, a violation of Title 18, United States Code, Section 1030, contrary to
Title 18, United States Code, Section 1956(a)(2)(A).

All in violation of Title 18, United States Code, Section 1956(h).

39

 
 

 

Case 2:18-cr-00263-UNA Document 4 Filed 10/03/18 Page 40 of 41

FORFEITURE ALLEGATIONS

113. The allegations contained in Counts One through Ten of this Indictment are
incorporated herein by reference as though fully set forth herein for the purpose of alleging
criminal forfeitures pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and
1030G)(1)(A).

114. As a result of the commission of the violations charged in Count One, the
defendants, ALEKSEI SERGEYEVICH MORENETS, EVGENIT MIKHAYLOVICH
SEREBRIAKOV, IVAN SERGEYEVICH YERMAKOV, ARTEM ANDREYEVICH
MALYSHEV, DMITRIY SERGEYEVICH BADIN, OLEG MIKHAYLOVICH SOTNIKOV and
ALEXEY VALEREVICH MININ, did use the following to commit or to promote the commission
of said violations (hereinafter collectively referred to as the "Subject Domain Names"):
fancybear.net and fancybear.org.

115. The United States hereby gives notice to the defendants, ALEKSEI
SERGEYEVICH MORENETS, EVGENIIT MIKHAYLOVICH SEREBRIAKOV, IVAN
SERGEYEVICH YERMAKOV, ARTEM ANDREYEVICH MALYSHEV, DMITRIY
SERGEYEVICH BADIN, OLEG MIKHAYLOVICH SOTNIKOV and ALEXEY
VALEREVICH MININ, charged in Count One that, upon their conviction of such offense, the
government will seek forfeiture in accordance with: (a) Title 18, United States Code, Sections
982(a)(2)(B) and 1030(4)(1)(B), which require any person convicted of such offense to forfeit any
property constituting or derived from proceeds obtained directly or indirectly as a result of such
offense; and (b) Title 18, United States Code, Section 1030(i)(1)(A), which requires any person

convicted of such offense to forfeit any personal property that was used or intended to be used to

40

 
Case 2:18-cr-00263-UNA Document4 Filed 10/03/18 Page 41 of 41

commit or to facilitate the commission of the offense, including but not limited to the following

SUBJECT DOMAIN NAMES: fancybear.net and fancybear.org.

FAAS

SCOTT W. BRADY
United States Attorney
PA ID No. 88352

 

41
